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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  JOE HOUSTON, Individually,

                 Plaintiffs,

  v.                                                      Case No.

  HOLLYWOOD BEACH HOTEL LLC, A Florida
  Limited Liability Company,

                 Defendant.




                                            COMPLAINT
                                     (Injunctive Relief Demanded)

         Plaintiff, JOE HOUSTON, Individually, on his behalf and on behalf of all other individuals

  similarly situated, (sometimes referred to as "Plaintiff'), hereby sues the Defendant, HOLLYWOOD

  BEACH HOTEL LLC, A Florida Limited Liability Company (sometimes referred to as

  "Defendant"), for Injunctive Relief, and attorney's fees, litigation expenses, and costs pursuant to

  the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA").

  1.             Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as

                 an individual with disabilities as defined by the ADA. Plaintiff is unable to engage

                 in the major life activity of walking. Instead, Plaintiff is bound to ambulate in a

                 wheelchair and has limited use of his hands.

  2.             Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

                 "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and
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              determining whether places of public accommodation and their websites are in

              compliance with the ADA.

              Defendant owns, leases, leases to, or operates a place of public accommodation as

              defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201 (a)

              and 36.104. The place of public accommodation that the Defendant owns, operates,

              leases or leases to is a place of lodging known as Villa Europa Hotel, and is located

              at 314 Cleveland Street, Hollywood Beach, Florida in the County of Broward,

              (hereinafter "Property").

              Venue is properly located in the Southern District of Florida because venue lies in

              the judicial district of the property situs. The Defendant's property is located in and

              does business within this judicial district.

              Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendant's violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.

              As the owner, lessor, lessee, or operator of the subject premises, Defendant is

              required to comply with the ADA. As such, Defendant is required to ensure that it's

              place of lodging is in compliance with the standards applicable to places of public

              accommodation, as set forth in the regulations promulgated by the Department Of

              Justice. Said regulations are set forth in the Code Of Federal Regulations, the

              Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the

              2010 ADA Standards, incorporated by reference into the ADA. These regulations
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              impose requirements pertaining to places of public accommodation, including places

              of lodging, to ensure that they are accessible to disabled individuals.

              More specifically, 28 C.F.R. Section 36.302(e)(l) imposes the following

              requirement:

              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through a
              third party -
                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during
                      the same hours and in the same manner as individuals who do not need
                      accessible rooms;
                      (ii) Identify and describe accessible features in the hotels and guest rooms
                      offered through its reservations service in enough detail to reasonably
                      permit individuals with disabilities to assess independently whether a
                      given hotel or guest room meets his or her accessibility needs;
                      (iii) Ensure that accessible guest rooms are held for use by individuals
                      with disabilities until all other guest rooms of that type have been rented
                      and the accessible room requested is the only remaining room of that type;
                      (iv) Reserve, upon request, accessible guest rooms or specific types of
                      guest rooms and ensure that the guest rooms requested are blocked and
                      removed from all reservations systems; and
                      (v) Guarantee that the specific accessible guest room reserved through its
                      reservations service is held for the reserving customer, regardless of
                      whether a specific room is held in response to reservations made by others.

              These regulations became effective March 15, 2012.



              Defendant, either itself or by and through a third party, implemented, operates,

              controls and or maintains a website for the Property which contains an online

              reservations system. This website is located at

              http://www.villaeuropahotel.com/

              and
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              https://www.travelocity.com/Fort-Lauderdale-Hotels-Villa-Europa-Hotel.h456058

              3 .Hotel-Information?chkin=9%2F26%2F2017&chkout=9%2F27%2F2017&rm 1=

              a2&region!d=0&hwrqCacheKey=3adbcaal-6c4c-4e83-a39f-12bel234a7a9HWR

              Q1506468286973&vip=false&c=57b50ad8-b5b8-4eOd-ba6c-5f221ba3fOdf&



              The purpose of this website is so that members of the public may reserve guest

              accommodations and review information pertaining to the goods, services,

              features, facilities, benefits, advantages, and accommodations of the Property. As

              such, this website is subject to the requirements of 28 C.F.R. Section 36.302(e).

   10.        Prior to the commencement of this lawsuit, Plaintiff visited the website for the

              purpose of reviewing and assessing the accessible features at the Property and

              ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

              his accessibility needs. However, Plaintiff was unable to do so because Defendant

              failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

              As a result, Plaintiff was deprived the same goods, services, features, facilities,

              benefits, advantages, and accommodations of the Property available to the general

              public.

  11.         In the near future, Plaintiff intends to revisit Defendant's website and/or online

              reservations system in order to test it for compliance with 28 C.F.R. Section

              36.302(e) and/or to utilize the website to reserve a guest room and otherwise avail

              himself of the goods, services, features, facilities, benefits, advantages, and

              accommodations of the Property.
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   12.        Plaintiff is continuously aware that the subject website remains non-compliant and

              that it would be a futile gesture to revisit the website as long as those violations

              exist unless he is willing to suffer additional discrimination.

   13.        The violations present at Defendant's website infringe Plaintiffs right to travel

              free of discrimination and deprive his of the information required to make

              meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

              frustration and humiliation as the result of the discriminatory conditions present at

              Defendant's website. By continuing to operate a website with discriminatory

              conditions, Defendant contributes to Plaintiffs sense of isolation and segregation

              and deprives Plaintiff the full and equal enjoyment of the goods, services,

              facilities, privileges and/or accommodations available to the general public. By

              encountering the discriminatory conditions at Defendant's website, and knowing

              that it would be a futile gesture to return to the website unless he is willing to

              endure additional discrimination, Plaintiff is deprived of the same advantages,

              privileges, goods, services and benefits readily available to the general public. By

              maintaining a website with violations, Defendant deprives Plaintiff the equality of

              opportunity offered to the general public.

   14.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a

              result of the Defendant's discrimination until the Defendant is compelled to

              modify its website to comply with the requirements of the ADA and to continually

              monitor and ensure that the subject website remains in compliance.
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  15.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

              from the Defendant's non-compliance with the ADA with respect to this website.

              Plaintiff has reasonable grounds to believe that he will continue to be subjected to

              discrimination in violation of the ADA by the Defendant.

  16.         The Defendant has discriminated against the Plaintiff by denying him access to,

              and full and equal enjoyment of, the goods, services, facilities, privileges,

              advantages and/or accommodations of the subject website.

  17.         The Plaintiff and all others similarly situated will continue to suffer such

              discrimination, injury and damage without the immediate relief provided by the

              ADA as requested herein.

  18.         Defendant has discriminated against the Plaintiff by denying him access to full

              and equal enjoyment of the goods, services, facilities, privileges, advantages

              and/or accommodations of its place of public accommodation or commercial

              facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

              Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

              those similarly situated by failing to make reasonable modifications in policies,

              practices or procedures, when such modifications are necessary to afford all

              offered goods, services, facilities, privileges, advantages or accommodations to

              individuals with disabilities; and by failing to take such efforts that may be

              necessary to ensure that no individual with a disability is excluded, denied

              services, segregated or otherwise treated differently than other individuals because

              of the absence of auxiliary aids and services.


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  19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

  20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject website to make it readily accessible and useable to the Plaintiff and all

               other persons with disabilities as defined by the ADAand 28 C.F.R. Section

               36.302(e); or by closing the website until such time as the Defendant cures its

               violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

        b.     Injunctive relief against the Defendant including an order to revise its website to

               comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

               maintain the website to ensure that it remains in compliance with said requirement.

        c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

               § 12205.
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         d.     Such other relief as the Court deems just and proper, and/or is allowable under

                Title III of the Americans with Disabilities Act.

                Respectfully Submitted,

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  By:_/s/ Althea M. Campbell
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